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                              EXHIBIT C




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 111111 111111 II                                                                                           1111111111 1111111111 ~                DL234605      I
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                                                ARTICLES OF ORGANIZATION                                                                                      0
                                                                                                                                ~---------\.0
Secretary of State                                 DOMESTIC LIMITED LIABILITY COMPANY                                                Filing Fee: $150
500 E. Capitol Ave                                                    SDCL 47-34A-203, 212                                                                    0
                                                                                                                                                              \.0
Pierre, SD 57501-5070
(605) 773-4845                                                Please Type or Print Clearly in Ink                                                             f---'
                                                                                                                                                              --------
                                                                 Please submit one Original
                                                                                                                                                              w
                                                          Make payable to the SECRETARY OF STATE
                                                                                                                                   Total Fee: $150
                                                                                                                                ~--------- N
                                                                                                                                           --------
                                                                                                                                            0
                                                                             Article I                                                      N
                                                                                                                                            N
 The name of the Company:                   RC Security LLC


                                                                             Article II
 The address of the initial designated office in or out of the State of South Dakota where the company conducts its business:

      Actual Street Address                                                            Mailing Address
      519 WEST 22ND ST.                                                                519 WEST 22ND ST.
      SUITE 100                                                                        SUITE 100
      SIOUX FALLS, SD 57105                                                            SIOUX FALLS, SD 57105


                                                                            Article Ill                                                                       CJ)
                                                                            SDCL 59-11-6                                                                      t:J
 The South Dakota Registered Agent's Name:
                                                                                                                                                              CJ)
      South Dakota law permits the registered agent to be either (a) a noncommercial registered agent or (b) a commercial registered agent.                   0
                                                                                                                                                              CJ)

      (b) The South Dakota Commercial Registered Agent's name & CRA#

      CRA:      LEGALINC CORPORATE SERVICES INC. (0000044)

      Actual Street Address in this State                                              Mailing Address in this State
      401 E 8TH STREET
      SUITE 214-3010
      SIOUX FALLS, SD 57103



                                                                            Article IV
 The name and address of each organizer
      Name                                       Address

      Robert Chen                                4710 142 Pl. SE, Bellavue, WA 98006




                                                                             Article V
 The duration of the company if other than perpetual is:    Perpetual
                                                            -------------------------------

  If the document is not to be effective upon filing by the Secretary of State, the delayed effective date is:
                                                                                                                                                                td
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                                                                       Article VI                                                                               f-----'
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    [Z] Member-Managed               D Manager-Managed                                                                                                          0
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                                                                                                                                                                 0
                                                                                                                                                                 N
                                                                       Article VII                                                                               N
Beneficial Owners (optional): A beneficial owner is a person who has or in some manner controls an equity security. Please consult an attorney for legal
advice if you have any questions concerning this entry. Any question under this heading is considered a request for legal advice and the secretary of state's   m
office is, by statute, not permitted, to provide legal advice.




                                                                                                                                                                CJ)
                                                           Signature/Authorization                                                                              t:J
The Articles of Organization must be executed by the organizers.
                                                                                                                                                                CJ)
                                                                                                                                                                0
No person may execute this report knowing it is false in any material respect. Any violation may be subject to a criminal penalty (SDCL 22-39-36).              CJ)




     Jonathan Gaskin                         Jonathan Gaskin                                               Partner                          09/13/2022
     PRINTED NAME                            SIGNATURE                                                     TITLE                            DATED
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            ~tate of ~outb 11Bakota
                       Office of the Secretary of State



                     Certificate of Organization
                                                                                                         .
                      Domestic Limited Liability Company

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I, Steve Barnett, Secretary of State of the State of South Dakota, hereby certify that the        i (D
                                                                                                    0
ARTICLES OF ORGANIZATION for
                                                                                                  , Q.

                                                                                                    tr
                                    RC Security LLC                                                ~

                                                                                                    CJ)
                                                                                                     t:J
                                  BUSINESS ID# DL234605                                             CJ)
                                                                                                      0
with an effective date of: September 13, 2022, duly signed and verified,SDCL 47-34A-203,          .   CJ)
                                                                                                   ..,,
212 has been received in this office and is found to conform to law.                              ...•
ACCORDINGLY, and by virtue of the authority vested in me by law, I hereby issue this
Certificate of Organization and attach hereto a duplicate of the ARTICLES OF
ORGANIZATION.


                                                 IN TESTIMONY WHEREOF, I have
                                                 hereunto set my hand and caused to be
                                                 affixed the Great Seal of the State of South
                                                 Dakota, in Pierre, the Capital City, this day,
                                                 September 13, 2022.




                                                                                 Steve Barnett
09/13/2022 6:34 PM                                                           Secretary of State
